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Exhibit 4
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division
SVETLANA LOKHOVA
Plaintiff,

Case No. 1:20-cv-1603

STEFAN A. HALPER

Defendant.

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OBJECTIONS AND RESPONSES TO DEFENDANT’S
NOTICE OF DEPOSITION AND SUBPOENA

Steven S. Biss, pursuant to Rules 26, 34 and 45 of the Federal Rules of Civil
Procedure (the “Rules”), hereby makes, notes and preserves the following Objections and
Responses to defendant, Stefan A. Halper’s, notice of deposition and subpoena to testify
at deposition in a civil action (the “Discovery Requests”).

General Objections

1. This case was dismissed with prejudice on April 5, 2021. The Clerk
entered final judgment on July 9, 2021. The matter is on appeal. Discovery may not be
conducted in this matter pursuant to Rules 30 and 45 now that this case is closed.

2. The Discovery Requests do not accord with the procedures of the
Commonwealth of Virginia.

3. Mr. Biss objects to the Discovery Requests on the ground and to the extent
that the Discovery Requests seek the production and/or disclosure of information
protected by the attorney-client privilege and/or work-product doctrines. Subject to and

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without waiving the privilege as to any document, Mr. Biss represents that the only
information and documents being withheld are communications between Mr. Biss and his
client (Ms. Lokhova), documents prepared in anticipation of the closed case and appeal,
and related work-product of Mr. Biss. The privileged materials consist almost entirely of
email communications between Mr. Biss and Ms. Lokhova and legal analysis of claims
and defenses prepared by Mr. Biss. Mr. Biss does not intend to produce a privilege log as
to these documents.

4, Mr. Biss objects to the Discovery Requests on the ground and to the extent
that the Discovery Requests seek the production and/or disclosure of confidential
information and sensitive personal and/or financial information and material that is not
generally known to the public and that is the subject of efforts by Mr. Biss that are
reasonable under the circumstances to maintain the confidentiality of such material. Mr.
Biss will produce responsive information subject to entry of an appropriate Protective
Order.

5. Mr. Biss objects to the Discovery Requests on the ground and to the
extent that the information requested is not in Mr. Biss’s possession or control, but is in
the possession and control of others, including, without limitation, Ms. Lokhova, the
United States Government and its agencies, John Durham, Special Counsel appointed
pursuant to ORDER NO. 4878-2020, Michael E. Horowitz, Inspector General of the
United States, and others,

6. Mr. Biss objects to the Discovery Requests (including the definitions and
instructions that accompany the Discovery Requests) on the ground that the Discovery

Requests are vague, confusing, argumentative, not proportional to the needs of any case,
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and would subject Mr. Biss to annoyance, embarrassment, oppression, or undue burden
or expense.

7. Mr. Biss objects to the Discovery Requests to the extent that the
Discovery Requests require Mr. Biss to create documents for Halper to take action not
required by Rules 26, 34 or 45 of the Federal Rules of Civil Procedure.

8. Mr. Biss was not consulted about the date of the deposition, and is not
available on November 22, 2021. Counsel for Halper was notified of Mr. Biss’s
unavailability on November 1, 2021.

9. The subpoena violates Rule 45(c)(1) and (c)(2) because it requires Mr.
Biss to attend a deposition and produce documents more than 100 miles from where Mr.
Biss resides, is employed or regularly transacts business in person.

Specific Objections and Responses to Subpoena for Documents

 

1, All documents relating to payments made on behalf of Svetlana

Lokhova to Steven Biss.

 

 

 

ANSWER: Objection — relevance; overbroad and not proportional to
the needs of the case; attorney-client privilege. Mr. Biss further objects pursuant to Rule
26(d) (“A party may not seek discovery from any source before the parties have
conferred as required by Rule 26(f), except in a proceeding exempted from initial
disclosure under Rule 26(a)(1)(B), or when authorized by these rules, by stipulation, or

by court order.”).
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2. All documents relating to monies payable to Steven Biss for work

performed on behalf of Svetlana Lokhova.

 

 

 

ANSWER: Objection — relevance; overbroad and not proportional to
the needs of the case; attorney-client privilege. Plaintiff further objects pursuant to Rule
26(d) (“A party may not seek discovery from any source before the parties have
conferred as required by Rule 26(f), except in a proceeding exempted from initial
disclosure under Rule 26(a)(1)(B), or when authorized by these rules, by stipulation, or

by court order.”).

 

 

 

 

3. All documents relating to monies or assets held in trust for Svetlana
Lokhova.
ANSWER: Mr. Biss has no documents.

 

4, All documents relating to any revenue from Spygate Exposed: The
Conspiracy to Topple President Trump, including but not limited to any contract

providing entitlement to such revenues.

 

 

 

ANSWER: Mr. Biss has no documents.
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5. All documents relating to any revenue from Spygate Exposed,

including but not limited to any contract providing entitlement to such revenues.

 

 

 

ANSWER: Mr. Biss has no documents.

 

6. All documents relating to any revenue from The Spider: Stefan A.

 

 

Halper and the Dark Web of a Coup.

 

ANSWER: Mr. Biss has no documents.

 

7. All documents relating to any revenue from GOFUNDME for the

benefit of Svetlana Lokhova or Steven Biss.

 

 

 

ANSWER: Mr. Biss has no documents.

 

8. All documents sufficient to quantify the revenue earned by Steven

Biss for the taxable year 2019.

 

 

 

ANSWER: Objection — relevance; not proportional to the needs of the
case; confidential subject to Rule 26(c). Plaintiff further objects pursuant to Rule 26(d)
(“A party may not seek discovery from any source before the parties have conferred as
required by Rule 26(f), except in a proceeding exempted from initial disclosure under

Rule 26(a)(1)(B), or when authorized by these rules, by stipulation, or by court order.”).
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9. All documents sufficient to quantify the revenue earned by Steven

Biss for the taxable year 2020.

 

 

 

ANSWER: Objection — relevance; not proportional to the needs of the
case; confidential subject to Rule 26(c). Plaintiff further objects pursuant to Rule 26(d)
(“A party may not seek discovery from any source before the parties have conferred as
required by Rule 26(f), except in a proceeding exempted from initial disclosure under

Rule 26(a)(1)(B), or when authorized by these rules, by stipulation, or by court order.”).

 

10. All documents sufficient to quantify to the revenue earned by Steven

 

 

Biss of the taxable year 2021.

 

ANSWER: Objection - vague and confusing; relevance; not
proportional to the needs of the case; confidential subject to Rule 26(c). Plaintiff further
objects pursuant to Rule 26(d) (“A party may not seek discovery from any source before
the parties have conferred as required by Rule 26(f), except in a proceeding exempted
from initial disclosure under Rule 26(a)(1)(B), or when authorized by these rules, by

stipulation, or by court order.”).
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11. A copy of any and all financial statements for Steven Biss compiled

or used from 2019 until the present.

 

 

 

ANSWER: Objection — relevance; overbroad and not proportional to
the needs of the case; confidential subject to Rule 26(c). Plaintiff further objects pursuant
to Rule 26(d) (“A party may not seek discovery from any source before the parties have
conferred as required by Rule 26(f), except in a proceeding exempted from initial
disclosure under Rule 26(a)(1)(B), or when authorized by these rules, by stipulation, or

by court order.”).

 

12. All documents relating to payments due and owing Steven Biss from

his clients since January 2019.

 

 

 

ANSWER: Objection — relevance; overbroad and not proportional to
the needs of the case; confidential subject to Rule 26(c). Plaintiff further objects pursuant
to Rule 26(d) (“A party may not seek discovery from any source before the parties have
conferred as required by Rule 26(f), except in a proceeding exempted from initial
disclosure under Rule 26(a)(1)(B), or when authorized by these rules, by stipulation, or

by court order.”’).
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13. All documents relating to any bank accounts, wherever located, in

which You currently have monies or assets on deposit.

 

 

 

ANSWER: Objection — relevance; overbroad and not proportional to
the needs of the case; confidential subject to Rule 26(c). Plaintiff further objects pursuant
to Rule 26(d) (“A party may not seek discovery from any source before the parties have
conferred as required by Rule 26(f), except in a proceeding exempted from initial
disclosure under Rule 26(a)(1)(B), or when authorized by: these rules, by stipulation, or

by court order.”).

 

14, All documents relating to any brokerage account, wherever located, in

which Your currently have monies or assets on deposit.

 

 

 

ANSWER: Objection — vague and confusing; relevance; overbroad and
not proportional to the needs of the case; confidential subject to Rule 26(c). Plaintiff
further objects pursuant to Rule 26(d) (“A party may not seek discovery from any source
before the parties have conferred as required by Rule 26(f), except in a proceeding
exempted from initial disclosure under Rule 26(a)(1)(B), or when authorized by these

rules, by stipulation, or by court order.”).

 

15. All documents related to any third party financing you have obtained

for the Litigation.

 

 

 

ANSWER: Mr. Biss has no documents.
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16. All unpaid invoices or billing statements for legal services provided or

costs from January 1, 2019 until the present.

 

 

ANSWER:

Mr. Biss has no documents.

Reservation of Rights

Mr. Biss reserves the right to amend and/or supplement these Objections and

Responses to the Discovery Requests.

DATED:

November 17, 2021

STEVEN S. BISS

By:

/s/ Steven S. Biss

Steven S. Biss (VSB # 32972)
300 West Main Street, Suite 102
Charlottesville, Virginia 22903

Telephone: (804) 501-8272
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Email: stevenbiss@earthlink.net

 

Counsel for the Plaintiff
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CERTIFICATE OF SERVICE

I hereby certify that on November 17, 2021 a copy of the foregoing was served

via email in PDF on counsel for Defendant, Stefan A. Halper.

/s/ Steven S. Biss

Steven S. Biss (VSB # 32972)
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Charlottesville, Virginia 22903

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Counsel for the Plaintiff

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